Case 1:15-cv-00436-HG-KJM Document 378 Filed 06/19/19 Page 1 of 2                                    PageID #: 6619
  AO 450 (Rev. 5/85) Judgment in a Civil Case




                                   UNITED STATES DISTRICT COURT
                                                DISTRICT OF HAWAII

   GULSTAN E. SILVA, JR., as                                JUDGMENT IN A CIVIL CASE
   Personal Representative of the Estate
   of Sheldon Paul Haleck ,                                 Case: CV 15-00436 HG-KJM

                   Plaintiff,
                                                                        FILED IN THE
                     V.                                        UNITED STATES DISTRICT COURT
                                                                    DISTRICT OF HAWAII

                                                                            June 19, 2019
   CHRISTOPHER CHUNG;
                                                                     At 11 o’clock and 30 min a.m.
   SAMANTHA CRITCHLOW; AND                                              SUE BEITIA, CLERK
   STEPHEN KARDASH

                  Defendants.


  [T]       Jury Verdict. This action came before the Court for a trial by jury. The issues
            have been tried and the jury has rendered its verdict.

  [ ]       Decision by Court. This action came to trial before the Court. The issues have
            been tried and a decision has been rendered.


            IT IS ORDERED AND ADJUDGED that judgment is entered in favor of
            Defendants Christopher Chung, Samantha Critchlow and Stephen Kardash,
            pursuant to, and in accordance with, the “Special Verdict Form”, filed on June 6,
            2019, ECF No. 372, and the following orders:

            “Stipulation for Partial Dismissal Without Prejudice of All Claims Against
            Defendant Donna Y. L. Leong and Order”, filed February 16, 2017, ECF No. 176;


            “Order Granting, in Part, and Denying, in Part, Plaintiffs’ Motion to Dismiss
            Defendants Louis M. Kealoha, in His Official Capacity, Chad Sano, Reynwood
            Makishi and Frank Pojsl (ECF No. 174) and Granting Plaintiffs’ Motion for Leave
            to File Second Amended Complaint (ECF No. 173)”, filed March 14, 2017, ECF
            No. 192;
Case 1:15-cv-00436-HG-KJM Document 378 Filed 06/19/19 Page 2 of 2               PageID #: 6620
  AO 450 (Rev. 5/85) Judgment in a Civil Case                                       Page 2 of 2




             “Order Granting Defendant Louis M. Kealoha’s Motion for Summary Judgment
            (ECF No. 193) and Denying Plaintiffs’ Amended Motion for Partial Summary
            Judgment as to the Liability of Defendants Christopher Chung, Samantha
            Critchlow, Stephen Kardash, Louis M. Kealoha, and City and County of Honolulu
            for Violations of Constitutional Rights (ECF No. 195) and Granting Defendant
            City and County of Honolulu’s Amended Motion for Summary Judgment (ECF
            No. 199) and Granting, in Part, and Denying, in Part, Defendants Christopher
            Chung, Samantha Critchlow, and Stephen Kardash’s Amended Motion for
            Summary Judgment (ECF No. 200)”, filed June 28, 2017, ECF No. 224 , and;

            “Order on Punitive Damages”, filed on June 19, 2019, ECF No. 377.




                      June 19, 2019                             SUE BEITIA
   Date                                             Clerk

                                                             /s/ Sue Beitia by ET
                                                    (By) Deputy Clerk
